Case 1:23-cr-00257-TSC Document 169-3 Filed 11/29/23 Page 1 of 6




EXHIBIT C
                   (Redacted)
                Case 1:23-cr-00257-TSC Document 169-3 Filed 11/29/23 Page 2 of 6
                                                                                LAURO & SINGER
                                                                                                FLORIDA  NEW YORK
              FLORIDA
      400 N. Tampa Street
                 15th Floor
     Tampa, Florida 33602
          P. 813.222.8990
                              November 15, 2023
          F. 813.222.8991

      1101 Brickell Avenue    Via Email: MGG@usdoj.gov; TPW@usdoj.gov
     South Tower, 8th Floor
          Miami, FL 33131
          P. 813.222.8990
                              Molly Gaston
                              Thomas P. Windom
           NEW YORK           Senior Assistant Special Counsels
        250 E. 53rd Street    950 Pennsylvania Avenue NW
               Suite 1701     Room B-206
New York, New York 10022
                              Washington, D.C. 20530
          P. 646.746.8659

                                Re:      United States v. Donald J. Trump, No. 23 Cr. 257 (TSC)
WWW . LAUROSINGER . COM
                              Dear Ms. Gaston and Mr. Windom:

                                        Your recent filings indicate that you plan to present evidence regarding the
                              activities of protesters on January 6, 2021, at the Capitol and matters related thereto.
                              We do not believe that such evidence is relevant to the charges and is extremely
                              prejudicial, serving only to inflame and confuse the jury. See, e.g., Dkt. No. 115.
                              Nonetheless, we must be prepared to defend these uncharged accusations so
                              additional clarification and discovery is needed. Please do not take this request as an
                              indication that we believe any evidence or argument related to the protest or violence
                              on January 6th is relevant and admissible, but in the interest of expediency, we must
                              better understand your position on these subjects and resolve discovery issues prior
                              to any admissibility determination.

                                      As an initial matter, please let us know what aspects of the January 6th events
                              you assert are relevant and what you intend to offer into evidence at trial. Because
                              most actions at the Capitol on January 6th are outside of the Indictment, we ask that
                              you identify the scope of your trial presentation so that we may conduct discovery
                              accordingly.

                                      In our October 23, 2023 discovery letter, we requested information related to
                              some aspects of the January 6th protests, including identification of informants and
                              other undercover operatives and the details of their participation, prior bids for security
                              and National Guard assistance, 302s and other memoranda regarding January 6th
                              investigations, foreign interference or involvement with January 6th activities, and
                              querying of FISA databases related to January 6th. Below, we have some additional
                              requests for January 6th related materials. These are subject to change based on
                              explanation of the scope of your trial presentation.

                                       As our motion to compel deadline is approaching, we must get your position
                              on these issues and unresolved discovery disputes straightaway. Given that both
                              parties will be in Washington, D.C. next Monday for oral argument, we propose having
         Case 1:23-cr-00257-TSC Document 169-3 Filed 11/29/23 Page 3 of 6
                                                                                                   Page 2 of 5




a meet and confer meeting on Tuesday, November 21, 2023. We have set forth the additional requests
below for your consideration prior to the meeting.

  I.    Background

         Each of the Requests set forth below calls for production of documents irrespective of their
classification level. As used herein, the term “documents” includes (i) all communications, including
memoranda, reports, letters, notes, emails, text messages, videos, and other electronic communications; (ii)
hard copies and electronically stored information, whether written, printed, or typed; and (iii) all drafts and
copies.

         As used herein, the term “foreign influence” is broader than the definition of the term “foreign
interference” in Executive Order 13848 and includes any overt or covert effort by foreign governments and
non-state actors, as well as agents and associates of foreign governments and non-state actors, intended to
affect directly or indirectly a US person or policy or process of any federal, state, or local government actor
or agency in the United States.

         The Requests call for specified documents in the possession of the prosecution team, as we defined
that term in our October 15, 2023 letter to you.

  II.   Requests

          1.       Your response to our October 23, 2023 letter provided numerous objections but did not
clarify your position on relevancy with respect to each request. Therefore, regarding our October 23 requests
and each of the specific requests below, please specifically indicate whether you will produce the documents
requested, and, if not, whether you contend: (1) the documents are not relevant to this case; (2) the
documents are relevant, but the prosecution team, as you define it, does not have possession, custody, or
control of the documents; or (3) the documents are relevant, and are in the possession custody, or control of
the prosecution team, but you nonetheless believe the government is not required to produce the requested
documents. Additionally, for any documents you contend are not relevant, please confirm that you will not
present any evidence on the identified subject in your case in chief at trial.

        2.        If you intend to introduce evidence at trial of any injuries sustained to law enforcement or
anyone else at the Capitol on January 6, 2021, please provide all documents regarding those injured during
the protest at the Capitol, including medical records.

        3.       Please provide all prior law enforcement and military intelligence regarding the Ellipse rally
and the protest at the Capitol on January 6th, including the distribution and briefings of the intelligence.

         4.        Please provide all memoranda regarding interviews of law enforcement officers regarding
the Ellipse rally and the protest at the Capitol on January 6th.

        5.       Please provide all documents regarding law enforcement, security, or National Guard
preparations for the Ellipse rally and the protest at the Capitol on January 6th.
Case 1:23-cr-00257-TSC Document 169-3 Filed 11/29/23 Page 4 of 6
         Case 1:23-cr-00257-TSC Document 169-3 Filed 11/29/23 Page 5 of 6
                                                                                                    Page 4 of 5




        19.      Please provide all documents regarding Ray Epps, the “scaffold commander,” John Nichols,
or any similar persons who encouraged or participated in any illegal activities on January 6th.

       20.     Please provide all intelligence assessments or the Daily Intelligence Report for the Make
America Great Again rallies on November 14, 2020 and December 12, 2020.

          21.     Please provide any transcripts of videos of the Congressional debates regarding the
certification on or about January 6th.

       22.     Please provide all documents regarding the effect of the December 20, 2021 protests in
Washington, D.C. on the preparations for the Ellipse rally and the protest at the Capitol on January 6th.

        23.      Please provide all documents regarding the Norfolk memo (Norfolk Situational Information
Report) including the memo itself and its distribution.

        24.      Please provide all documents from the Joint Terrorism Task Force regarding the Ellipse rally
and the protest at the Capitol on January 6th.

        25.     Please provide all documents from LEAP regarding the Ellipse rally and the protest at the
Capitol on January 6th.

         26.      Please provide all training manuals and standard operating procedures regarding crowd and
riot control for the Capitol Police, Washington, D.C. Metro Police, Federal Bureau of Investigation, and
Department of Homeland Security.

        27.     Please provide all documents relating to militias planning to gather, or gathering, at the
Capitol on January 6th.

         28.       Please provide all communications between Yogananda Pittman and Nancy Pelosi, Nancy
Pelosi’s staff, or representative of Nancy Pelosi.

        29.     Please provide all documents regarding any threats to state or local employees or officials
who alleged they were threatened as a result of their role in any state or local election for the 2020 election.

       30.      Please provide all documents related to Steven Sund’s statements that he “believed officials
were aware of the January 6 U.S. Capitol insurrection before it happened and covered it up.”

       31.      Please provide all communications between Steven Sund and members of Congress and
Congressional staff related to January 6th.

       32.     Please provide all communications between Steven Sund and other law enforcement
agencies, Department of Defense, and National Guard related to January 6th.
         Case 1:23-cr-00257-TSC Document 169-3 Filed 11/29/23 Page 6 of 6
                                                                                                  Page 5 of 5




        33.     Please provide all intelligence provided to Steven Sund related to January 6th.

          34.    Please provide all documents regarding all government sources who were queried and / or
provided information regarding the events of January 6th. Production should include, but not be limited to,
FBI CHS and PCHS queries and resulting 1023 reports. Production should also include, but not be limited
to, all source reporting from individuals or sources associated with any law enforcement agency and any
agencies in the intelligence community.

          35.     Please provide all documents related to investigations into the “gallows” which were placed
in front of the Capitol in the early morning hours of January 6th.

       36.     Please provide all documents regarding the individual dubbed “fence cutter bulwark” who
was captured on video removing fencing in advance of the crowd moving from the Ellipse toward the Capitol.

        37.    Please provide all documents provided by Capitol Police Officers and whistleblowers to the
Inspector General regarding January 6th.

           38.    Please provide all testimony, statements, and memoranda of all witnesses you expect to call
at trial regarding the protest or violence at the Capitol on January 6th.

Sincerely,




John F. Lauro

cc: Todd Blanche, Esq. (toddblanche@blanchelaw.com); Emil Bove, Esq. (emil.bove@blanchelaw.com)
